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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


AMAZON.COM, INC.,
                                                           Case No. 1:21-cv-767 (BMC)
        Plaintiff,

   v.

ATTORNEY GENERAL LETITIA JAMES, in
her official capacity as the Attorney General of
the State of New York,

        Defendant.


                                     NOTICE OF APPEAL

        Notice is hereby given that Plaintiff Amazon.com, Inc. (“Amazon”) appeals to the United

States Court of Appeals for the Second Circuit from the Memorandum Decision and Order entered

August 10, 2021 (ECF No. 43) (the “Decision”), the Order entered August 11, 2021 (no ECF No.)

(the “Order”), and the Clerk’s Judgment entered August 12, 2021 (ECF No. 44) (the “Judgment”),

granting Defendant Attorney General Letitia James’s motion to dismiss and denying Amazon’s

motion for summary judgment, and from any and all of the Court’s rulings adverse to Amazon

incorporated in, antecedent to, or ancillary to the Decision, Order, or Judgment.

Dated: August 17, 2021

                                                   Respectfully submitted,

                                                   /s/ Jason C. Schwartz

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